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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                               PORTLAND DIVISION

COMMERCE & INDUSTRY                                )
INSURANCE COMPANY,                                 )
                                                   )
                           Plaintiff,              )       No. 3:14-cv-00559-HZ
                                                   )
                     v.                            )       HON. MARCO A. HERNANDEZ
                                                   )
HR STAFFING, INC.,                                 )
                           Defendant.              )

  JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE AND REQUEST
     FOR COURT TO RETAIN JURISDICTION TO ENFORCE SETTLEMENT

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Commerce & Industry Insurance

Company and Defendant HRStaffing, Inc. (collectively “the Parties”) hereby agree to dismiss

this action without prejudice and without attorney fees or costs to either party pursuant to the




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parties’ written, executed Settlement Agreement entered on October 22, 2015, the terms of which

are incorporated herein by reference.

        In conjunction with this Joint Stipulation, the Parties request that the Court retain

jurisdiction of this matter for the purpose of resolving any disputes that may arise in the future

regarding the Settlement Agreement, its terms, or its enforcement. See Flanagan v. Arnaiz, 143

F.3d 540, 544 (9th Cir. 1998). Retention of jurisdiction by the Court is an express term of the

Settlement Agreement, and the Parties request that the Court expressly include its retention of

jurisdiction over the Settlement Agreement as part of its Order of Dismissal.

Dated: October 22, 2015                             SHOOK, HARDY & BACON L.L.P.

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Dated: October 22, 2015                       KERR LAW OFFICE P.C.

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                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of
the Court for the United States District Court for the District of Oregon by
using the CM/ECF system on October 22, 2015.

        I certify that all participants in the case are registered CM/ECF users and
that service will be accomplished by the CM/ECF system and by mailing a true
and correct copy of the foregoing via U.S. First-Class mail, postage paid to:

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